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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

ADAM GILL,

Petitioner,
VS. No.
LAKE COUNTY,
LAKE COUNTY SHERIFF, and
ARMOR CORRECTIONAL HEALTH
SERVICES INC.

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Respondent.

COMPLAINT AT LAW

HERE COMES the Plaintiff, ADAM GILL, by and through his attorneys, ALEKSY
BELCHER, and for his Complaint at Law against Defendants, LAKE COUNTY, LAKE
COUNTY SHERIFF, AND ARMOR CORRECTIONAL HEALTH SERVICES, INC., states as
follows:

Introduction

1. Adam Gill was permanently disabled in a Lake County correctional facility
because the Defendants failed to provide the reasonable accommodation that the Defendants’
own staff ordered. Plaintiff physical and cognitive functioning is now limited. These injuries are
the result of the Defendants’ failure to provide adequate medical care and their failure to place
Plaintiff—who had a known history of seizure disorder—in a lower bunk.

2. This is a civil rights action brought to redress Plaintiff's federally protected rights
under the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12101 et seq., Section 504 of
the Rehabilitation Act, 29 U.S.C. §794 et seq., and the Civil Rights Act, 42 U.S.C. § 1983.

Jurisdiction and Venue

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3), This Court has jurisdiction of the action pursuant to the Civil Rights Act, 42
U.S.C. § 1983, 28 U.S.C. § 1331 and 1343(a), and the Constitution of the United States; it also
has supplemental jurisdiction as provided by 28 U.S.C. § 1367.

4. Venue is proper under 28 U.S.C. § 1391(b). Plaintiff resides in this judicial
district. Defendants Lake County and Lake County Sheriff reside in this judicial district.
Defendant Armor Correctional Health Services, Inc. is a Florida corporation that regularly
engages in business in this judicial district. Further, the events giving rise to the claims asserted
herein occurred within the district.

The Parties

5. Plaintiff was an inmate in the Lake County correctional facilities. He had served
time in both Lake County Adult Corrections Facility and in the inmate work release center.

6. Defendant Lake County is a municipal corporation duly incorporated under the
laws of the State of Illinois. The County runs the Lake County correctional facilities, including
the Lake County Adult Correctional Facility and the inmate work release center. Lake County
must obtain and provide reasonably necessary health services for detainees in the correctional
facilities.

7. Defendant Lake County Sheriff is a Department of the Lake County government.
Lake County Sheriff manages, operates and maintains the Lake County correctional facilities,
including the Lake County Adult Correctional Facility and the inmate work release center
(Community Based Correction Center). Lake County Sheriff must obtain and provide reasonably
necessary health services for detainees in the Lake County correctional facilities.

8. Defendant Armor Correctional Health Services, Inc. contracted with Lake County

to provide for the delivery of reasonably necessary health care commensurate with National
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Commission on Correctional Healthcare (NCCHC) standards, Prison Rape Elimination Act
(PREA) and American Correctional Association (ACA) standards including medical, dental,
mental health and claims management services to adult inmates. The contract was in effect on
February 8, 2018.

Background

9. On June 13, 2017, Plaintiff was booked into the Lake County correctional facility.

10. As part of the intake process, Plaintiff was screened by several Lake County,
Lake County Sheriff and Armor Correctional Health Services employees and/or agents.

11. Lake County, Lake County Sheriff and Armor Correctional Health Services
employees and/or agents documented Plaintiff's medical conditions, created medical records,
and shared such medical records within the correctional facility/staff so as to provide Plaintiff
with reasonably necessary health services.

12. On June 13, 2017, Lake County, Lake County Sheriff and Armor Correctional
Health Services nurse Taryn Weiler identified Plaintiff as having epilepsy and seizures. Weiler’s
note stated as follows: “Yes — Active (details) (epilepsy, last seizure 6/12/17).”

13. On June 13, 2017, Weiler noted that Plaintiff was currently receiving medication
for seizures.

14. On June 13, 2017, Weiler wrote that Plaintiff required special needs/housing
consideration: “Low Bunk (sz disorder).”

15. After the intake process, Plaintiff continued to receive medical care and
screenings from Lake County, Lake County Sheriff and Armor Correctional Health Services

employees and/or agents.
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16. OnJune 29, 2017, Lake County, Lake County Sheriff and Armor Correctional
Health Services employee and/or agent Miteshkumar Modi noted that Plaintiff had a history of
epilepsy.

17. On August 14, 2017, Lake County, Lake County Sheriff and Armor Correctional
Health Services employee and/or agent noted that Plaintiff had a neurological condition:
Seizure/Epilepsy.

18. On September 7, 2017, Plaintiff advised Lake County, Lake County Sheriff and
Armor Correctional Health Services employee and/or agent Alvaro Encinas that he had migraine
and "hot flashes" feelings in his head.

19. On November 8, 2017, Plaintiff reported to Lake County, Lake County Sheriff
and Armor Correctional Health Services employee and/or agent Alla Chukhray that his seizures
are exacerbated by stress. Several seizure-related medications were prescribed.

20. On January 20, 2018, Plaintiff reported to Alla Chukhray that he had a history of
seizures and epilepsy.

21. | Onor around February 6, 2018, Plaintiff was transferred from the Lake County
Adult Correctional Facility and the inmate work release center. He was still detained by and
under the control of Lake County and Lake County Sheriff.

22. On or around February 6, 2018, Plaintiff authorized Lake County Sheriff's
Community Based Correction Center to release any and all pertinent information to treatment
facilities, medical facilities (including hospitals and medical offices), social service agencies, and

educational programs/curriculum.
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23. | Onor around February 6, 2018, Plaintiff was assigned to a top bunk, despite his
verbal requests and the medical orders of the Lake County, Lake County Sheriff and Armor
Correctional Health Services.

24. On or around February 6, 2018, Plaintiff was not given his seizure/epilepsy
medication by the Lake County, Lake County Sheriff and Armor Correctional Health Services
staff.

25. On or around February 6, 2018, Lake County, Lake County Sheriff and Armor
Correctional Health Services staff was aware that Plaintiff was not taking his seizure medication.
26. On the night/early morning of February 7-8, 2018, Plaintiff suffered from a
seizure while sleeping on the top bunk. He fell to the ground and suffered serious physical injury,

resulting in physical, cognitive, and emotional pain, suffering and limitations.

27. On the night/early morning of February 7-8, 2018, Lake County Sheriff Sgt. S.
Wilson reported, “4T Gill, Adam L162791 5A medical emergency — seizure fell from top bunk —
take to vista east hospital via Waukegan rescue report #18-01428 — copy to CBCC director and
Jail admin.”

28. On the night/early morning of February 7-8, 2018, Lake County and Lake County
Sheriff staff wrote a report stating, “On 2/8/18 at approximately 0125 while relieving 4T from
break, I Officer Verner heard a loud bang coming from the sleeping area and residents calling for
help. Resident Gill, Adam #162791 had fallen from top bunk 5A and was having a seizure.”

29. Lake County, Lake County Sheriff and Armor Correctional Health Services staff
responded to the scene of Plaintiff's fall, particularly Officer Varner, nurse Jennifer Lee and

nurse Markus Reliford.
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30. On February 9, 2018, Officer Varner wrote that “On February 9 (sic), 201 (sic) at
0130 hours resident Gill, Adam L 162791 had a seizure and fell off of the top bunk and on to the
floor in Tower 4 bed 5A. Armor Nurse Jennifer Lee and Markus Reliford responded. Gill was
unresponsive and had blood in his right ear. Waukegan Rescue was called and Gill was
transported to Vista East Hospital.”

31. Several inmates were interviewed in relation to Plaintiff's fall in the days
following the incident.

32. Inmate Arrez Sion stated Plaintiff was vocal about his epilepsy before the fall.

33. Inmate Sergio Conejo-Valerio stated Plaintiff mentioned needing to be on a
bottom bunk before the fall.

34. Inmate Joshua Troche stated he saw Plaintiff almost fall out of his top bunk the
day before the fall. Troche also saw Plaintiff fall from the top bunk on February 8, 2018 while
having a seizure.

35. Inmate Correy Moore recalled Plaintiff stating he should not be on the top bunk
and recalled seeing Plaintiff almost fall from the top bunk a day or two before Plaintiff's fall.

36. Inmate Dartanion Smith stated he believes Plaintiff told the prison staff that he
was prone to seizures and should not be on the top bunk prior to the fall.

37. Inmate Timothy Knieling stated he heard Plaintiff complain of a “migraine
headache” the night of the fall.

38. Inmate David Valent stated he saw Plaintiff holding his head in his hands earlier
in the day before the fall.

39. Inmate Raymond Steward stated Plaintiff should not have been placed on a top

bunk due to prior seizures.
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40. Inmate James Fassbinder stated Plaintiff had complained of a migraine headache
the night of the fall. Plaintiff told Fassbinder that he was supposed to be on medications for
seizures and asked how to get re-assigned to a bottom bunk.

41. Inmate Stevenson Borrero overheard Plaintiff expressing concern about his bunk
assignment on the day of the fall.

42. Inmate Nicholas Poindexter stated Plaintiff had been nervous about being on a top
bunk. Poindexter told Plaintiff to request a lower bunk.

43. Inmate Francisco Nunez stated that he overhead Plaintiff complaining of a
migraine the night of the fall.

44. On March 30, 2018, Lake County and Lake County Sheriff employee/agent D.
Hollingsworth #1348 wrote to Chief Wathen that, on February 6, 2018, Plaintiff had stated to
prison staff that he was “on meds for seizures and 3 other meds.” Plaintiff had advised that he
had not received and/or taken medications for seizures since arriving at the work release center.
Hollingsworth wrote that on the morning of February 7, 2018, Plaintiff asked if he could move
from a top bunk to a bottom bunk, as he “didn’t get much sleep ‘last night’ due to thinking he
was going to fall.”

45. Plaintiff was not re-assigned to a bottom bunk.

Negligence and/or Deliberate Indifference of the Defendants

46. Defendants Lake County, Lake County Sheriff and Armor Correctional Health
Services, Inc. were aware of Plaintiff’s seizure disorder before the fall.

47. Defendants Lake County, Lake County Sheriff and Armor Correctional Health

Services, Inc. were aware of Plaintiff's need for seizure medication before the fall.
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48. Defendants Lake County, Lake County Sheriff and Armor Correctional Health
Services, Inc. were aware of Plaintiff's need for a bottom bunk before the fall.

49. Defendants Lake County, Lake County Sheriff and Armor Correctional Health
Services, Inc. were aware that Plaintiff was not taking his seizure medication the day and night
of the fall.

50. | Defendants Lake County, Lake County Sheriff and Armor Correctional Health
Services, Inc. were aware that Plaintiff was assigned to a top bunk the day and night of the fall.

51. Defendants Lake County, Lake County Sheriff and Armor Correctional Health
Services, Inc. were aware that Plaintiff had requested accommodations, particularly that he be
reassigned to a bottom bunk.

52. Defendants Lake County, Lake County Sheriff and Armor Correctional Health
Services, Inc. are aware of the need to provide necessary accommodations in housing
assignments and placements of detainees with disabilities.

53. | Defendants Lake County, Lake County Sheriff and Armor Correctional Health
Services, Inc. conduct medical screenings and evaluations of all detainees as they come into the
corrections department. In the course of conducting those evaluations, its physicians often
identify needed accommodations for individuals with disabilities who are entering the
correctional facilities.

54. | Defendants Lake County, Lake County Sheriff and Armor Correctional Health
Services, Inc. have failed to establish adequate procedures for the medical staff to communicate
needed accommodations for detainees with disabilities to the correctional staff.

55. Even where the Defendants’ medical staff does determine the need for urgent

accommodation requests (such as lower bunk orders), Defendants have failed to establish
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necessary training and procedures to insure that accommodations requests are not only received
but also implemented.

56. Also, even where the Defendants’ medical staff determines detainees, such as
Plaintiff, need immediate medication for serious health problems/disabilities (such as a seizure
disorder), Defendants have failed to implement the necessary training and procedures to insure
that this medication is actually immediately given to the detainee, and that there is proper
documentation reflecting the administration of such medication.

57. Asa direct result of these deficiencies, Defendants routinely fail to implement
necessary accommodations relating to the bunk placements of detainees with disabilities.

58. All Defendants are responsible for ensuring that lower bunk orders, such as the
one prescribed to Plaintiff, be promptly communicated between medical staff and correctional
facilities.

COUNT I: VIOLATION OF THE REHABILITATION ACT
(against Defendants Lake County and Lake County Sheriff)

59. Each of the above paragraphs setting forth the factual allegations is incorporated
as if fully restated herein.

60. Section 504 provides that “[]no otherwise qualified individual with a disability in
the United States ...shall, solely by reason of her or his disability, be excluded from the
participation in, be denied the benefits of, or be subjected to discrimination under any program or
activity receiving Federal financial assistance...” 29 U.S.C. § 794.

61. Section 504 requires covered entities to provide reasonable accommodations to

enable qualified individuals with disabilities to participate in the program or activity.
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62. Defendants Lake County and Lake County Sheriff are subject to the
Rehabilitation Act as entities of local government that receive federal financial assistance. 29
U.S.C. §794(b); C.F.R. § 27.1.

63. Plaintiff is a qualified individual with a disability pursuant to Section 504 because
he is substantially limited in neurological function and other major life activities when seizures
occur.

64. By failing to provide Plaintiff with the reasonable accommodation of a lower
bunk assignment, as requested by the medical staff, Defendants Lake County and Lake County
Sheriff discriminated against Plaintiff in violation of Section 504.

65. Defendants’ conduct was intentional and deliberately indifferent to Plaintiffs
federally protected rights.

66. As a result of Defendants’ unlawful actions, Plaintiff suffered injuries, including
pain and suffering, permanent physical injury, pecuniary damages including extensive past and
future medical bills, and emotional distress.

COUNT II: VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
(against Defendants Lake County and Lake County Sheriff)

67. Each of the above paragraphs setting forth the factual allegations is incorporated
as if fully restated herein.

68. Under Title II of the ADA, “no qualified individual with a disability shall, by
reason of such disability, be excluded from participation in or be denied the benefits of the
services, programs, or activities of a public entity, or be subjected to discrimination by such

entity.” 42 U.S.C. § 12132.

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69. The ADA requires public entities to provide reasonable accommodations to
qualified individuals with disabilities to enable them to benefit from the service and participate in
the program or activity.

70. _—‘ Plaintiffis a qualified individual with a disability pursuant to the Americans with
Disabilities Act because he is substantially limited in neurological function and other major life
activities when seizures occur.

71. By failing to provide Plaintiff with the reasonable accommodation of a lower
bunk assignment, as requested by Defendant’s medical staff, Defendants Lake County Lake
County Sheriff discriminated against Plaintiff in violation of the Americans with Disabilities
Act.

72. Defendants’ conduct was intentional and deliberately indifferent to Plaintiff's
federally protected rights.

73. Asaresult of Defendants’ unlawful actions, Plaintiff suffered injuries including
pain and suffering, permanent physical injury, pecuniary damages including extensive past and
future medical bills, and emotional distress

COUNT III: CONSTITUTIONAL VIOLATION — DUE PROCESS
(against Defendants Lake County and Lake County Sheriff)

74. Each of the above paragraphs setting forth the factual allegations is incorporated
as if fully restated herein.

75. At the time of the events, Plaintiff had a serious medical need that was known to
Defendants.

76. Defendants were aware of the serious risk of harm presented and were

deliberately indifferent to that risk.

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77. The misconduct described in this Count was undertaken pursuant to the policy
and practice of Lake County and Lake County Sheriff in that:

a. Defendants manifest deliberate indifference by maintaining policies and
practices that fail to adequately obtain appropriate bunk placements of
Lake County detainees with disabilities, thereby encouraging and causing
the very type of misconduct at issue here, and Lake County is further
deliberately indifferent to the serious health needs of those detainees
needing serious and immediate medication by maintaining policies and
practices that fail to adequately insure that detainees receive timely and
appropriate medication, and that the administration of such medication is
properly documented;

b. Defendants maintains policies and practices that allow and cause medical
personnel to disregard the serious needs of people with disabilities by
failing to take necessary measures to ensure that correctional staff receive
the necessary medical information, or requests for accommodations, for
detainees with disabilities to make appropriate bunk assignments;

c. Defendants maintains policies and practices that allow and cause
correctional staff to disregard the serious needs of people with disabilities
by failing to take necessary measures to ensure that correctional staff
receive and implement the necessary requests for accommodations relating
to bunk assignments for detainees with disabilities;

d. Defendants knowingly maintain policies and practices that allow detainees
with disabilities to be given bunk assignments without consideration of
their need for accommodations;

e. Defendants’ policymakers are aware of, condone, and facilitate by their
inaction, the policies and practices that caused the misconduct at issue in
this case.

78. The above described conduct was intentional, and Defendants acted with malice

and deliberate indifference to Plaintiff's federally protected rights.
79. Asaresult of Defendants’ unlawful actions, Plaintiff suffered injuries including
pain and suffering, permanent physical injury, pecuniary damages including extensive past and

future medical bills, and emotional distress.

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COUNT IV: NEGLIGENCE —- SUPPLEMENTAL STATE LAW CLAIM
(against Lake County)

80. Each of the above paragraphs setting forth the factual allegations is incorporated
as if fully restated herein.

81. Defendant Lake County owed Plaintiff a duty of care.

82. Defendant Lake County and/or its agents breached that duty of care by
negligently failing to provide the lower bunk assignment that Plaintiff required.

83. Defendant Lake County, and/or its agents, breached that duty of care by
negligently failing to properly monitor and observe the Plaintiff in light of his known medical
condition.

84. Defendant Lake County, and/or its agents, breached that duty of care by
negligently failing to properly monitor and observe the Plaintiff in light of his known medical
condition.

85. Defendant Lake County, and/or its agents, breached that duty of care by
negligently failing accommodate Plaintiffs request for a lower bunk.

86. Defendant Lake County, and/or its agents, breached that duty of care by
negligently failing to provide Plaintiff with seizure medication.

87. Defendant Lake County is negligent in not ensuring policies and procedures are in
place for ensuring that detainees such as Plaintiff receive immediate and urgent medication, and
the proper type of medication.

88. The Defendants’ agents committed these acts or omissions in the course and
within the scope of their employment. Therefore, all of their individual acts and omissions are

directly chargeable to Defendants pursuant to the doctrine of respondeat superior.

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89. As aresult of Defendant’s actions, Plaintiff suffered injuries, described more fully
above.

COUNT V: NEGLIGENCE —- SUPPLEMENTAL STATE LAW CLAIM
(against Lake County Sheriff)

90. Each of the above paragraphs setting forth the factual allegations is incorporated
as if fully restated herein.

91. Defendant Lake County Sheriff owed Plaintiff a duty of care.

92. Defendant Lake County Sheriff and/or its agents breached that duty of care by
negligently failing to provide the lower bunk assignment that Plaintiff required.

93. | Defendant Lake County Sheriff, and/or its agents, breached that duty of care by
negligently failing to properly monitor and observe the Plaintiff in light of his known medical
condition.

94. Defendant Lake County Sheriff, and/or its agents, breached that duty of care by
negligently failing to properly monitor and observe the Plaintiff in light of his known medical
condition.

95. Defendant Lake County Sheriff, and/or its agents, breached that duty of care by
negligently failing accommodate Plaintiff's request for a lower bunk.

96. Defendant Lake County Sheriff, and/or its agents, breached that duty of care by
negligently failing to provide Plaintiff with seizure medication.

97. | Defendant Lake County Sheriff is negligent in not ensuring policies and
procedures are in place for ensuring that detainees such as Plaintiff receive immediate and urgent

medication, and the proper type of medication.

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98. The Defendants’ agents committed these acts or omissions in the course and
within the scope of their employment. Therefore, all of their individual acts and omissions are
directly chargeable to Defendants pursuant to the doctrine of respondeat superior.

99. Asaresult of Defendant’s actions, Plaintiff suffered injuries, described more fully
above.

COUNT VI: NEGLIGENCE —- SUPPLEMENTAL STATE LAW CLAIM
(against Armor Correctional Health Services, Inc.)

100. Each of the above paragraphs setting forth the factual allegations is incorporated
as if fully restated herein.

101. Defendant Armor Correctional Health Services, Inc. owed Plaintiff a duty of care.

102. Defendant Armor Correctional Health Services, Inc. and/or its agents breached
that duty of care by negligently failing to provide the lower bunk assignment that Plaintiff
required.

103. Defendant Armor Correctional Health Services, Inc., and/or its agents, breached
that duty of care by negligently failing to properly monitor and observe the Plaintiff in light of
his known medical condition.

104. Defendant Armor Correctional Health Services, Inc., and/or its agents, breached
that duty of care by negligently failing to properly monitor and observe the Plaintiff in light of
his known medical condition.

105. Defendant Armor Correctional Health Services, Inc., and/or its agents, breached
that duty of care by negligently failing accommodate Plaintiff's request for a lower bunk.

106. Defendant Armor Correctional Health Services, Inc., and/or its agents, breached

that duty of care by negligently failing to provide Plaintiff with seizure medication.

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107. Defendant Armor Correctional Health Services, Inc. is negligent in not ensuring
policies and procedures are in place for ensuring that detainees such as Plaintiff receive
immediate and urgent medication, and the proper type of medication.

108. Defendant Armor Correctional Health Services, Inc. is negligent in not ensuring
medical information, including a detainee’s urgent medical needs (like seizure medication and/or
lower bunk accommodations), is shared with appropriate medical and/or correctional staff, upon
a detainee’s transfer between correctional facilities.

109. The Defendants’ agents committed these acts or omissions in the course and
within the scope of their employment. Therefore, all of their individual acts and omissions are
directly chargeable to Defendants pursuant to the doctrine of respondeat superior.

110. Asaresult of Defendant’s actions, Plaintiff suffered injuries, described more fully
above.

COUNT VII: WILLFUL & WANTON —- SUPPLEMENTAL STATE LAW CLAIM
(against Lake County, Lake County Sheriff and Armor Correctional Health Services, Inc.)

111. Each of the above paragraphs setting forth the factual allegations is incorporated
as if fully restated herein.

112. The Plaintiff reiterates the allegations in Counts IV, V, and VI, but also adds in
this count that the actions of the Defendants were willful and wanton.

113. Defendants’ agents committed these willful and wanton acts in the course and
within the scope of their employment. Therefore, all of their individual willful and wanton
actions are directly chargeable to Defendants pursuant to the doctrine of respondeat superior.

114. As aresult of Defendants’ actions, Plaintiff suffered injuries, described above.

Damages

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115. That as a direct and proximate result of one or more of the aforementioned acts
and/or omissions of the Defendants, the Plaintiff sustained severe and permanent injuries, both
internally and externally, and was and will be hindered and prevented from attending to his usual
duties and affairs and has lost and will in the future lose the value of that time, as
aforementioned. Plaintiff also suffered great pain and anguish, both in mind and body, and will
in the future continue to suffer. Plaintiff further expended and became liable for, and will expend
and become liable for, large sums of money for medical care and services endeavoring to
become healed and cured of said injuries.

WHEREFORE, Plaintiff demands judgment against Defendants for compensatory and
punitive damages, in excess of $75,000, plus the costs of this action and attorney’s fees, and such
other and additional relief as this court deems equitable and just. These equitable demands
include, but are not limited to (a) implementing training and policies to insure that lower bunk
orders are entered immediately, with no delay; (b) implement training and policies to insure that
detainees receive timely and proper medication and that such administration of medication is
properly documented, and (c) that emergency contacts are promptly notified when the detainee
has been seriously injured.

PLAINTIFF DEMANDS TRIAL BY JURY DATED: November 30, 2018
Respectfully submitted,

/s/ Bryant M. Greening
One of the Attorneys for Plaintiff

Bryant M. Greening

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